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  11
  12                       UNITED STATES DISTRICT COURT
  13                     CENTRAL DISTRICT OF CALIFORNIA
  14
  15 GRACIELA HERRERA; and RUBEN   Case No. CV 16-02719 DSF (SKx)
     ORDAZ,
  16                               FIRST AMENDED COMPLAINT
                  Plaintiffs,      FOR DAMAGES
  17
            vs.                     1. Unreasonable Search and Seizure—
  18                                   Detention and Arrest (42 U.S.C. §
     CITY OF LOS ANGELES;              1983)
  19 ALEJANDRO DOWNEY; and DOES 2- 2. Unreasonable Search and Seizure—
     10, inclusive,                    Excessive Force (42 U.S.C. § 1983)
  20
                  Defendants.       3. Substantive Due Process—(42
  21                                   U.S.C. § 1983)
                                    4. Municipal Liability for
  22
                                       Unconstitutional Custom, Practice,
  23                                   or Policy (42 U.S.C. § 1983)
                                    5. Battery (Wrongful Death)
  24
                                    6. Negligence (Wrongful Death)
  25                                7. Violation of Bane Act (Cal. Civil
                                       Code § 52.1)
  26
                                   DEMAND FOR JURY TRIAL
  27
  28

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                                                   FIRST AMENDED COMPLAINT FOR DAMAGES
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   1                FIRST AMENDED COMPLAINT FOR DAMAGES
   2
   3        Plaintiff GRACIELA HERRERA and RUBEN ORDAZ (“PLAINTIFFS”) for
   4 their complaint against Defendants CITY OF LOS ANGELES, ALEJANDRO
   5 DOWNEY and Does 2-10, inclusive, allege as follows:
   6
   7                                  INTRODUCTION
   8        1.     This civil rights action seeks compensatory and punitive damages from
   9 Defendants for violating various rights under the United States Constitution and
  10 state law in connection with the fatal police shooting of the decedent, Ruben
  11 Herrera.
  12
  13                                      PARTIES
  14        2.     At all relevant times, Ruben Herrera (“DECEDENT”) was an
  15 individual residing in County of Los Angeles, California.
  16        3.     Plaintiff GRACIELA HERRERA is an individual residing in County of
  17 Los Angeles, California, and is the natural mother to DECEDENT. GRACIELA
  18 HERRERA sues both in her individual capacity as the mother of DECEDENT and
  19 in a representative capacity as successor-in-interest to DECEDENT. GRACIELA
  20 HERRERA seeks both survival and wrongful death damages under federal and state
  21 law.
  22        4.     Plaintiff RUBEN ORDAZ is an individual residing in County of
  23 Sacramento, California, and is the natural father to DECEDENT. RUBEN ORDAZ
  24 sues both in his individual capacity as the father of DECEDENT and in a
  25 representative capacity as successor-in-interest to DECEDENT. RUBEN ORDAZ
  26 seeks both survival and wrongful death damages under federal and state law.
  27        5.     At all relevant times, Defendant CITY OF LOS ANGELES (“CITY”)
  28 is and was a duly organized public entity, form unknown, existing under the laws of

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   1 the State of California. At all relevant times, CITY was the employer of Defendants
   2 ALEJANDRO DOWNEY and DOES 2-4, who were CITY Police officers, DOES
   3 5-6, who were CITY police officers supervisorial officers, and DOES 7-10, who
   4 were managerial, supervisorial, and policymaking employees of the CITY Police
   5 Department. On information and belief, at all relevant times, ALEJANDRO
   6 DOWNEY and DOES 2-10 were residents of County of Los Angeles, California.
   7 ALEJANDRO DOWNEY and DOES 2-10 are sued in their individual capacity for
   8 damages only.
   9         6.    At all relevant times, Defendants ALEJANDRO DOWNEY and DOES
  10 2-10 were duly authorized employees and agents of CITY, who were acting under
  11 color of law within the course and scope of their respective duties as police officers
  12 and with the complete authority and ratification of their principal, Defendant CITY.
  13         7.    At all relevant times, Defendants ALEJANDRO DOWNEY and DOES
  14 2-10 were duly appointed officers and/or employees or agents of CITY, subject to
  15 oversight and supervision by CITY’s elected and non-elected officials.
  16         8.    In doing the acts and failing and omitting to act as hereinafter
  17 described, Defendants ALEJANDRO DOWNEY and DOES 2-10 were acting on
  18 the implied and actual permission and consent of CITY.
  19         9.    At all times mentioned herein, each and every CITY defendant was the
  20 agent of each and every other CITY defendant and had the legal duty to oversee and
  21 supervise the hiring, conduct and employment of each and every CITY defendant.
  22         10.   The true names of defendants DOES 2 through 10, inclusive, are
  23 unknown to Plaintiffs, who therefore sue these defendants by such fictitious names.
  24 Plaintiffs will seek leave to amend this complaint to show the true names and
  25 capacities of these defendants when they have been ascertained. Each of the
  26 fictitious named defendants is responsible in some manner for the conduct and
  27 liabilities alleged herein.
  28

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   1         11.    On February 26, 2016, Plaintiffs filed comprehensive and timely claims
   2 for damages with CITY pursuant to applicable sections of the California
   3 Government Code.
   4         12.    On March 15, 2016, CITY rejected Plaintiffs’ claims for damages.
   5                             JURISDICTION AND VENUE
   6         13.    This civil action is brought for the redress of alleged deprivations of
   7 constitutional rights as protected by 42 U.S.C. §§ 1983, 1985, 1986, 1988, and the
   8 Fourth and Fourteenth Amendments of the United States Constitution. Jurisdiction
   9 is founded on 28 U.S.C. §§ 1331, 1343, and 1367.
  10         14.    Venue is proper in this Court under 28 U.S.C. § 1391(b), because
  11 Defendants reside in, and all incidents, events, and occurrences giving rise to this
  12 action occurred in, the County of Los Angeles, California.
  13
  14                FACTS COMMON TO ALL CLAIMS FOR RELIEF
  15         15.    Plaintiffs repeat and reallege each and every allegation in paragraphs 1
  16 through 14 of this Complaint with the same force and effect as if fully set forth
  17 herein.
  18         16.    On or about December 19, 2015, DECEDENT was on his property in
  19 front of his home near the 1600 block of West 206th Street, in the City of Torrance,
  20 California.
  21         17.    While on his property and in front of his apartment, officers from the
  22 Los Angeles Police Department (“LAPD”), made contact with DECEDENT
  23 regarding a call for service they received about some people throwing bottles.
  24 DECEDENT had not been involved in throwing any bottles and the involved
  25 officers had no information that DECEDENT was in fact involved in the throwing
  26 any bottles.
  27
  28

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   1         18.    After initially making contact with the DECEDENT, the involved
   2 officers used excessive force against DECEDENT, including punching him and
   3 slamming him to the ground.
   4         19.    While the involved offices were taking DECEDENT into custody,
   5 GRACIELA HERRERA exited from inside her apartment and informed the
   6 involved officers that DECEDENT suffered from mental illness.
   7         20.    As a result of the encounter with DECEDENT and the involved LAPD
   8 officers, paramedics were summoned to the scene to treat DECEDENT. After
   9 receiving treatment, DECEDENT was transported by ambulance to Harbor-UCLA
  10 Medical Center in Torrance, California.
  11         21.    Prior to DECEDENT being transported from is home to Harbor-UCLA
  12 Medical Center, the involved officers were on notice that DECEDENT suffered
  13 from a pre-existing mental condition, specifically bipolar.
  14         22.    After being transported to Harbor-UCLA Medical Center, DECEDENT
  15 was fatally shot by ALEJANDRO DOWNEY of the LAPD while DECEDENT was
  16 still inside of the hospital.
  17         23.    At the time of the shooting DECEDENT did not pose an immediate
  18 threat of death and serious bodily injury, to ALEJANDRO DOWNEY or anyone
  19 else and there were less than lethal options available to ALEJANDRO DOWNEY
  20 and the involved officers. Further, DECEDENT did not cause serious bodily injury
  21 to ALEJANDRO DOWNEY, or anyone else, prior to the shooting.
  22         24.    As a result of the foregoing, DECEDENT suffered intense physical and
  23 emotional pain, anguish, distress and despair, and death, including the loss of
  24 enjoyment of his life.
  25         25.    On information and belief, Defendants had no information that
  26 DECEDENT had committed a felony.
  27
  28

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                                                      FIRST AMENDED COMPLAINT FOR DAMAGES
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   1                             FIRST CLAIM FOR RELIEF
   2    Unreasonable Search and Seizure—Detention and Arrest (42 U.S.C. § 1983)
   3                     (Against Defendant ALEJANDRO DOWNEY)
   4        26.    PLAINTIFFS repeat and reallege each and every allegation in
   5 paragraphs 1 through 25 of this Complaint with the same force and effect as if fully
   6 set forth herein.
   7        27.    Defendant ALEJANDRO DOWNEY caused DECEDENT to be
   8 detained and arrested in violation of his right to be secure in his person against
   9 unreasonable searches and seizures as guaranteed to DECEDENT under the Fourth
  10 Amendment to the United States Constitution and applied to state actors by the
  11 Fourteenth Amendment.
  12        28.    The DECEDENT was detained without reasonable suspicion and
  13 arrested without probable cause.
  14        29.    The conduct of ALEJANDRO DOWNEY was willful, wanton,
  15 malicious, and done with reckless disregard for the rights and safety of DECEDENT
  16 and therefore warrants the imposition of exemplary and punitive damages as to
  17 Defendant ALEJANDRO DOWNEY.
  18        30.    PLAINTIFFS seek damages as successor-in-interest to DECEDENT.
  19        31.    PLAINTIFFS also seek attorney fees under this claim.
  20                           SECOND CLAIM FOR RELIEF
  21       Unreasonable Search and Seizure—Excessive Force (42 U.S.C. § 1983)
  22                     (Against Defendant ALEJANDRO DOWNEY)
  23        32.    PLAINTIFFS repeat and reallege each and every allegation in
  24 paragraphs 1 through 31 of this Complaint with the same force and effect as if fully
  25 set forth herein.
  26        33.     ALEJANDRO DOWNEY’s unjustified shooting deprived
  27 DECEDENT of his right to be secure in his persons against unreasonable searches
  28

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   1 and seizures as guaranteed to DECEDENT under the Fourth Amendment to the
   2 United States Constitution and applied to state actors by the Fourteenth Amendment.
   3        34.    The unreasonable use of force by Defendant ALEJANDRO DOWNEY
   4 deprived the DECEDENT of his right to be secure in his person against
   5 unreasonable searches and seizures as guaranteed to DECEDENT under the Fourth
   6 Amendment to the United States Constitution and applied to state actors by the
   7 Fourteenth Amendment.
   8        35.    As a result, DECEDENT suffered extreme pain and suffering and
   9 eventually suffered a loss of life and of earning capacity. PLAINTIFFS have also
  10 been deprived of the life-long love, companionship, comfort, support, society, care,
  11 and sustenance of DECEDENT, and will continue to be so deprived for the
  12 remainder of her natural life. PLAINTIFFS are also claiming funeral and burial
  13 expenses and a loss of financial support.
  14        36.    This use of deadly force was excessive and unreasonable under the
  15 circumstances, especially since DECEDENT was not an immediate threat of death
  16 and serious bodily injury to ALEJANDRO DOWNEY or anyone else at the time of
  17 the shooting. Further, DECEDENT did not cause serious bodily injury to
  18 ALEJANDRO DOWNEY or anyone else prior to being fatally shot. Defendants’
  19 actions thus deprived DECEDENT of his right to be free from unreasonable
  20 searches and seizures under the Fourth Amendment and applied to state actors by
  21 the Fourteenth Amendment.
  22        37.    The conduct of ALEJANDRO DOWNEY was willful, wanton,
  23 malicious, and done with reckless disregard for the rights and safety of DECEDENT
  24 and therefore warrants the imposition of exemplary and punitive damages as to
  25 Defendant ALEJANDRO DOWNEY.
  26        38.    PLAINTIFFS bring this claim as successor-in-interest to the
  27 DECEDENT, and seek both survival and wrongful death damages for the violation
  28 of DECEDENT’s rights.

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   1         39.   PLAINTIFFS also seek attorney fees under this claim.
   2
   3                             THIRD CLAIM FOR RELIEF
   4                      Substantive Due Process (42 U.S.C. § 1983)
   5                     (Against Defendant ALEJANDRO DOWNEY)
   6         40.   PLAINTIFFS repeats and realleges each and every allegation in
   7 paragraphs 1 through 41 of this Complaint with the same force and effect as if fully
   8 set forth herein.
   9         41.    PLAINTIFF had a cognizable interest under the Due Process Clause of
  10 the Fourteenth Amendment of the United States Constitution to be free from state
  11 actions that deprive her of life, liberty, or property in such a manner as to shock the
  12 conscience, including but not limited to, unwarranted state interference in Plaintiff’s
  13 familial relationship with her son, DECEDENT.
  14         42.   DECEDENT had a cognizable interest under the Due Process Clause of
  15 the Fourteenth Amendment of the United States Constitution to be free from state
  16 actions that deprive him of his right to life, liberty, or property in such a manner as
  17 to shock the conscience.
  18         43.   As a result of the excessive force by DOE 1, and failure of DOE 2 to
  19 intervene, DECEDENT died. PLAINTIFF was thereby deprived of her
  20 constitutional right of familial relationship with DECEDENT.
  21         44.   Does 1-2, acting under color of state law, thus violated the Fourteenth
  22 Amendment rights of PLAINTIFF to be free from unwarranted interference with
  23 their familial relationship with DECEDENT.
  24         45.   The aforementioned actions of DOES 1-2, along with other
  25 undiscovered conduct, shock the conscience, in that they acted with deliberate
  26 indifference to the constitutional rights of DECEDENT and PLAINTIFF, and with
  27 purpose to harm unrelated to any legitimate law enforcement objective.
  28

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   1        46.    Defendants DOES 1-2, acting under color of state law, thus violated the
   2 Fourteenth Amendment rights of DECEDENT and PLAINTIFF.
   3        47.    As a direct and proximate cause of the acts of DOES 1-2, DECEDENT
   4 experienced severe pain and suffering and lost his life and earning capacity.
   5 PLAINTIFF suffered extreme and severe mental anguish and pain and have been
   6 injured in mind and body. PLAINTIFF has also been deprived of the life-long love,
   7 companionship, comfort, support, society, care and sustenance of DECEDENT, and
   8 will continue to be so deprived for the remainder of her natural life. PLAINTIFF is
   9 also claiming funeral and burial expenses and a loss of financial support.
  10        48.    As a result of the conduct of Does 1-2, they are liable for
  11 DECEDENT’S injuries, either because they were integral participants in the denial
  12 of due process, or because they failed to intervene to prevent these violations.
  13        49.    The conduct of DOES 1-2 was willful, wanton, malicious, and done
  14 with reckless disregard for the rights and safety of DECEDENT and PLAINTIFF
  15 and therefore warrants the imposition of exemplary and punitive damages as to
  16 Defendant DOES 1-2.
  17        50.    PLAINTIFF brings this claim individually and as a successors-in-
  18 interest to DECEDENT, and seek both survival and wrongful death damages for the
  19 violation of both PLAINTIFF’s and DECEDENT’s rights.
  20        51.    PLAINTIFF also seek attorney fees under this claim.
  21
  22                           FOURTH CLAIM FOR RELIEF
  23    Municipal Liability for Unconstitutional Custom or Policy (42 U.S.C. § 1983)
  24                      (Against Defendants DOES 5-10 and CITY)
  25        52.    PLAINTIFF repeats and realleges each and every allegation in
  26 paragraphs 1 through 53 of this Complaint with the same force and effect as if fully
  27 set forth herein.
  28

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   1         53.   On information and belief Defendant DOES 1-2’s shooting of
   2 DECEDENT, who was shot at the hospital after he just finished being treated there,
   3 who had not caused serious bodily injury to anyone prior to being fatally shot and
   4 who was not an immediate threat of death or serious bodily injure at the time of the
   5 shooting, was found to be within CITY Police Department policy.
   6         54.   On information and belief Defendant DOES 1-2’s shooting of
   7 DECEDENT, who was shot at the hospital after he just finished being treated there,
   8 who had not caused serious bodily injury to anyone prior to being fatally shot and
   9 who was not an immediate threat of death or serious bodily injure at the time of the
  10 shooting, was ratified by CITY Police Department supervisorial officers.
  11         55.   On information and belief Defendant Does 1-2 were not disciplined for
  12 fatally shooting DECEDENT, who was shot at the hospital after he just finished
  13 being treated there, who had not caused serious bodily injury to anyone prior to
  14 being fatally shot and who was not an immediate threat of death or serious bodily
  15 injure at the time of the shooting.
  16         56.   In 2015 alone, there were 21 officer-involved shootings involving the
  17 LAPD. On information and belief, the majority of, if not all of the 21 fatal officer-
  18 involved shootings which occurred in 2015, were found to be within CITY Police
  19 Department policy, were ratified by CITY Police Department supervisorial officers
  20 and the involved officers were not disciplined.
  21         57.   On and for some time prior to December 19, 2015 (and continuing to
  22 the present date) Defendants DOES 5-10, deprived PLAINTIFF and DECEDENT of
  23 the rights and liberties secured to them by the Fourth and Fourteenth Amendments
  24 to the United States Constitution, in that said defendants and their supervising and
  25 managerial employees, agents, and representatives, acting with gross negligence and
  26 with reckless and deliberate indifference to the rights and liberties of the public in
  27 general, and of Plaintiffs and DECEDENT, and of persons in their class, situation
  28

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   1 and comparable position in particular, knowingly maintained, enforced and applied
   2 an official recognized custom, policy, and practice of:
   3               (a)   Employing and retaining as police officers and other personnel,
   4                     including DOES 1-2, who Defendants DOES 5-10, at all times
   5                     material herein knew or reasonably should have known had
   6                     dangerous propensities for abusing their authority and for
   7                     mistreating citizens by failing to follow written CITY Police
   8                     Department’s policies, including the use of excessive force;
   9               (b)   Of inadequately supervising, training, controlling, assigning, and
  10                     disciplining CITY Police Officers, and other personnel,
  11                     including DOES 1-2, who Defendants CITY knew or in the
  12                     exercise of reasonable care should have known had the
  13                     aforementioned propensities and character traits, including the
  14                     propensity for violence and the use of excessive force;
  15               (c)   By maintaining grossly inadequate procedures for reporting,
  16                     supervising, investigating, reviewing, disciplining and
  17                     controlling the intentional misconduct by Defendant DOES 1-2,
  18                     who are Police Officers of CITY;
  19               (d)   By failing to discipline CITY Police Officers’ conduct, including
  20                     but not limited to, unlawful detention and excessive force;
  21               (e)   By ratifying the intentional misconduct of Defendant DOES 1-2,
  22                     who are Police Officers of CITY;
  23               (f)   By having and maintaining an unconstitutional policy, custom,
  24                     and practice of detaining and arresting individuals without
  25                     probable cause or reasonable suspicion, and using excessive
  26                     force, including deadly force, which also is demonstrated by
  27                     inadequate training regarding these subjects. The policies,
  28

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   1                      customs, and practices of DOES 5-10, were done with a
   2                      deliberate indifference to individuals’ safety and rights;
   3                (g)   By failing to properly investigate claims of unlawful detention
   4                      and excessive force by CITY Police Officers; and
   5                (f)   Of totally inadequate training with respect to dealing with
   6                      individuals with mental illness.
   7         58.   By reason of the aforementioned policies and practices of Defendants
   8 DOES 5-10, DECEDENT was severely injured and subjected to pain and suffering
   9 and lost his life.
  10         59.   Defendants DOES 5-10, together with various other officials, whether
  11 named or unnamed, had either actual or constructive knowledge of the deficient
  12 policies, practices and customs alleged in the paragraphs above. Despite having
  13 knowledge as stated above these defendants condoned, tolerated and through actions
  14 and inactions thereby ratified such policies. Said defendants also acted with
  15 deliberate indifference to the foreseeable effects and consequences of these policies
  16 with respect to the constitutional rights of DECEDENT, PLAINTIFF, and other
  17 individuals similarly situated.
  18         60.   By perpetrating, sanctioning, tolerating and ratifying the outrageous
  19 conduct and other wrongful acts, Defendants DOES 5-10, acted with an intentional,
  20 reckless, and callous disregard for the life of DECEDENT, and DECEDENT’s and
  21 PLAINTIFF’s constitutional rights. Defendants DOES 5-10, each of their actions
  22 were willful, wanton, oppressive, malicious, fraudulent, and extremely offensive and
  23 unconscionable to any person of normal sensibilities.
  24         61.   Furthermore, the policies, practices, and customs implemented and
  25 maintained and still tolerated by Defendants DOES 5-10, were affirmatively linked
  26 to and were a significantly influential force behind the injuries of DECEDENT and
  27 PLAINTIFF.
  28

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   1        62.    By reason of the aforementioned acts and omissions of Defendants
   2 DOES 5-10, Plaintiffs were caused to incur funeral and related burial expenses, and
   3 loss of financial support.
   4        63.    By reason of the aforementioned acts and omissions of Defendants
   5 DOES 5-10, PLAINTIFF has suffered loss of love, companionship, affection,
   6 comfort, care, society, and future support.
   7        64.    Accordingly, Defendants DOES 5-10, each are liable to PLAINTIFF
   8 for compensatory damages under 42 U.S.C. § 1983.
   9        65.    Plaintiffs seek wrongful death and survival damages under this claim.
  10        66.    Plaintiffs also seek attorney fees under this claim.
  11
  12                              FIFTH CLAIM FOR RELIEF
  13            Battery (Cal. Govt. Code § 820 and California Common Law)
  14                                    (Wrongful Death)
  15                       (Against Defendant DOES 1-4 and CITY)
  16        67.    Plaintiffs repeat and reallege each and every allegation in paragraphs 1
  17 through 68 of this Complaint with the same force and effect as if fully set forth
  18 herein.
  19        68.    DOES 1-2, while working as a Police Officers for the CITY Police
  20 Department, and acting within the course and scope of their duties, intentionally
  21 shot DECEDENT. As a result of the actions of DOES 1-2, DECEDENT suffered
  22 severe pain and suffering and ultimately died from his injuries and lost earning
  23 capacity. DOES 1-2 had no legal justification for using force against DECEDENT
  24 and said defendants’ use of force while carrying out their officer duties was an
  25 unreasonable use of force, especially since DECEDENT had just finished being
  26 treated at the hospital where he was shot at, DECEDENT had not inflicted serious
  27 bodily injury on anyone, including the involved officers, and DECEDENT was not
  28 an immediate threat of death or serious bodily injury at the time of the shooting.

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   1         69.   As a direct and proximate result of defendants’ conduct as alleged
   2 above, PLAINTIFF suffered extreme and severe mental anguish and pain and has
   3 been injured in mind and body. PLAINTIFF also has been deprived of the life-long
   4 love, companionship, comfort, support, society, care and sustenance of
   5 DECEDENT, and will continue to be so deprived for the remainder of her natural
   6 life. PLAINTIFF is claiming funeral and burial expenses and a loss of financial
   7 support.
   8         70.   CITY is vicariously liable for the wrongful acts of DOES 1-2 pursuant
   9 to section 815.2(a) of the California Government Code, which provides that a public
  10 entity is liable for the injuries caused by its employees within the scope of the
  11 employment if the employee’s act would subject him or her to liability.
  12         71.   The conduct of DOES 1-2 was malicious, wanton, oppressive, and
  13 accomplished with a conscious disregard for the rights of PLAINTIFF and
  14 DECEDENT, entitling PLAINTIFF, individually and as successors-in-interest to
  15 DECEDENT, to an award of exemplary and punitive damages.
  16         72.   PLAINTIFF brings this claim as a successor-in-interest to
  17 DECEDENT, and seek wrongful death damages.
  18         73.   PLAINTIFF is seeking wrongful death damages under this claim.
  19
  20                           SIXTH CLAIM FOR RELIEF
              Negligence (Cal. Govt. Code § 820 and California Common Law)
  21
                                      (Wrongful Death)
  22                              (Against All Defendants)
  23
  24         74.   PLAINTIFF repeats and realleges each and every allegation in
  25 paragraphs 1 through 75 of this Complaint with the same force and effect as if fully
  26 set forth herein.
  27         75.   The actions and inactions of the Defendants were negligent and
  28 reckless, including but not limited to:

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   1               (a)    the failure to properly and adequately assess the need to detain,
   2                      arrest, and use force or deadly force against DECEDENT;
   3                (b)   the negligent tactics and handling of the situation with
   4                      DECEDENT, including pre-shooting negligence;
   5                (c)   the negligent tactics and handling of the situation involving an
   6                      individual who is known to be suffering from a pre-existing
   7                      mental condition such as DECEDENT;
   8                (d)   the negligent detention, arrest, and use of force, including deadly
   9                      force, against DECEDENT;
  10                (e) the failure to properly train and supervise employees, both
  11                      professional and non-professional, including DOES 1-2
  12                (f)   the failure to ensure that adequate numbers of employees with
  13                      appropriate education and training were available to meet the
  14                      needs of and protect the rights of DECEDENT; and
  15                (g)   the negligent handling of evidence and witnesses.
  16         76.   As a direct and proximate result of defendants’ conduct as alleged
  17 above, and other undiscovered negligent conduct, DECEDENT was caused to suffer
  18 severe pain and suffering and ultimately died and lost earning capacity. Also as a
  19 direct and proximate result of defendants’ conduct as alleged above, PLAINTIFF
  20 suffered extreme and severe mental anguish and pain and has been injured in mind
  21 and body. PLAINTIFF also has been deprived of the life-long love, companionship,
  22 comfort, support, society, care and sustenance of DECEDENT, and will continue to
  23 be so deprived for the remainder of her natural life. PLAINTIFF is also claiming
  24 funeral and burial expenses and a loss of financial support.
  25         77.   CITY is vicariously liable for the wrongful acts of DOES 1-10 pursuant
  26 to section 815.2 of the California Government Code, which provides that a public
  27 entity is liable for the injuries caused by its employees within the scope of the
  28 employment if the employee’s act would subject him or her to liability.

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   1          78.   PLAINTIFF brings this claim as a successor-in-interest to
   2 DECEDENT, and seeks wrongful death damages.
   3          79.   PLAINTIFF is seeking wrongful death damages under this claim.
   4
   5                            SEVENTH CLAIM FOR RELIEF
                           Violation of Bane Act (Cal. Civil Code § 52.1)
   6
                                      (Against All Defendants)
   7
              80.   PLAINTIFF repeats and realleges each and every allegation in
   8
       paragraphs 1 through 81 of this Complaint with the same force and effect as if fully
   9
       set forth herein.
  10
              81.   California Civil Code, Section 52.1 (the Bane Act), prohibits any
  11
       person from interfering with another person’s exercise or enjoyment of his
  12
       constitutional rights by threats, intimidation, or coercion.
  13
              82.   Conduct that violates the Fourth Amendment violates the California
  14
       Bane Act.1
  15
              83.   Defendant DOES 1-2 use of deadly force was excessive and
  16
       unreasonable under the circumstances, especially since DECEDENT had just been
  17
       treated at the hospital where he was shot, DECEDENT did not inflict serious bodily
  18
       injury on anyone prior to being shot and DECEDENT was not a threat of death or
  19
       serious bodily injury at the time of the shooting. Defendants’ actions thus deprived
  20
       DECEDENT of his right to be free from unreasonable searches and seizures under
  21
       the Fourth Amendment and applied to state actors by the Fourteenth Amendment.
  22
              84.   DOES 1-2, while working as Police Officers for the CITY police
  23
       department, and acting within the course and scope of their duties, interfered with or
  24
       attempted to interfere with the rights of DECEDENT to be free from unreasonable
  25
  26
          1
  27        See Chaudhry v. City of Los Angeles, 2014 WL 2030195, at * 6 (9th Cir. May
       19, 2014) (citing Cameron v. Craig, 713 F.3d 1012, 1022 (9th Cir. 2013).
  28

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   1 searches and seizures, to equal protection of the laws, to access to the courts, and to
   2 be free from state actions that shock the conscience, by threatening or committing
   3 acts involving violence, threats, coercion, or intimidation.
   4         85.   On information and belief, DECEDENT reasonably believed that if he
   5 exercised his rights, including his civil rights, DOES 1-2 would commit acts
   6 involving violence, threats, coercion, or intimidation against them or their property.
   7         86.   On information and belief Defendant DOES 1-2 injured DECEDENT
   8 to prevent him from exercising his rights or retaliated against DECEDENT for
   9 having exercised his rights.
  10         87.   DECEDENT was caused to suffer extreme pain and suffering and
  11 eventually suffered a loss of life and of earning capacity. PLAINTIFF has also been
  12 deprived of the life-long love, companionship, comfort, support, society, care, and
  13 sustenance of DECEDENT, and will continue to be so deprived for the remainder of
  14 her natural life. PLAINTIFF is also claiming funeral and burial expenses and a loss
  15 of financial support.
  16         88.   The conduct of DOES 1-2 was a substantial factor in causing the
  17 harms, losses, injuries, and damages of DECEDENT and PLAINTIFF.
  18         89.   CITY is vicariously liable for the wrongful acts of DOES 1-2 pursuant
  19 to section 815.2(a) of the California Government Code, which provides that a public
  20 entity is liable for the injuries caused by its employees within the scope of the
  21 employment if the employee’s act would subject him or her to liability.
  22         90.   The conduct of DOES 1-2 was malicious, wanton, oppressive, and
  23 accomplished with a conscious disregard for the rights of DECEDENT entitling
  24 PLAINTIFF to an award of exemplary and punitive damages.
  25         91.   PLAINTIFF brings this claim as successor-in-interest to the
  26 DECEDENT, and seek both survival and wrongful death damages for the violation
  27 of DECEDENT’s rights.
  28         92.   The PLAINTIFF also seeks attorney fees under this claim.

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   1                              PRAYER FOR RELIEF
   2        WHEREFORE, Plaintiff requests entry of judgment in her favor and against
   3 Defendants City of Los Angeles, and Does 1-10, inclusive, as follows:
   4              A.    For compensatory damages in excess of $5,000,000, including
   5                    both survival damages and wrongful death damages under
   6                    federal and state law, in the amount to be proven at trial;
   7              B.    For funeral and burial expenses, and loss of financial support;
   8              C.    For punitive damages against the individual defendants in an
   9                    amount to be proven at trial;
  10              D.    For interest;
  11              E.    For reasonable costs of this suit and attorneys’ fees; and
  12              F.    For such further other relief as the Court may deem just, proper,
  13                    and appropriate.
  14
  15 DATED: November 28, 2016              LAW OFFICES OF DALE K. GALIPO
  16
  17                                       By       /s/ Eric Valenzuela
                                             Dale K. Galipo
  18                                         Eric Valenzuela
                                             Attorneys for Plaintiffs
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   1                           DEMAND FOR JURY TRIAL
   2        Plaintiff hereby demands a trial by jury.
   3
   4 DATED: November 28, 2016             LAW OFFICES OF DALE K. GALIPO
   5
   6
                                          By       /s/ Eric Valenzuela
   7                                        Dale K. Galipo
                                            Eric Valenzuela
   8                                        Attorneys for Plaintiffs

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